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 4   Los Angeles, CA 90025
     Telephone: 310-909-8000
 5   Facsimile: 310-909-8001
 6   Attorneys for Defendant HARRIS & HARRIS, LTD.
 7

 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10   RENATAKING,                                   CaseNo. _ _ _ _ _ __
11                                                 (Assigned to the Honorable
                 Plaintiff,
12                                                 ------Courtroom"_")
           vs.
13                                                 DEFENDANT'S NOTICE OF
     HARRIS & HARRIS, LTD.,                        REMOVAL OF CIVILE ACTION
14                                                 PURSUANT TO 28 U.S.C.
                 Defendant.                        SECTIONS 1331, 1441 AND 1446
15                                                 fSUBJECT MATTER
16                                                 JURISDICTION]

17                                                 Removal Filed: May 29, 2015
18
19
20         TO THE CLERK OF THE ABOVE-ENTITLED COURT:
21         PLEASE TAKE NOTICE THAT pursuant to the provisions of 28 U.S.C.
22   sections 1331, 1441(a) and 1446(b), Defendant HARRIS & HARRIS, LTD.
23   ("H&H"), hereby removes to this Court the state action currently pending in the Los
24   Angeles County Superior Court of California, described more fully below:
25         1.    On April 9, 2015, a civil action was commenced in the Superior Court
26   of the State of California, in and for the County of Los Angeles, entitled Renata
27   King v. Harris & Harris, LTD., as case number 15K04218. True and
28                                            1
                 DEFENDANT'S NOTICE OF REMOVAL OF CIVIL ACTION PURSUANT TO
                              28 U.S.C. SECTIONS 133 1,1441 AND 1446
                                                                             3 l594673vl 0966836
Case 2:15-cv-04043-CAS-PJW Document 1 Filed 05/29/15 Page 2 of 22 Page ID #:2




  1   correct copies of all pleadings, process and orders in said action served upon H&H
 2    are attached hereto as Exhibit "A" and incorporated herein.
 3          2.     Defendant H&H's registered agent was personally served with a copy
 4    of the summons and complaint between April 9, 2015 and May 19, 2015.
 5          3.     In light of its pendency in Los Angeles County, the United States
 6    District Court for the Cental District of California, Western Division, is the proper
 7    forum for removal under the provisions of28 U.S.C. sections 84(d) and 1441(a) and
 8    1446(b).
 9          4.     This Notice of Removal was filed within thirty days of service of the
10    complaint upon Defendant and one year of the commencement of the action. It is,
11    therefore, timely under 28 U.S.C. section 1446(b).
12          5.    The complaint purports to allege a federal cause of action against
13    Defendant for purported violations of the Fair Debt Collection Practices
14    ("FDCPA"), 15 U.S.C. §§1692 et seq.
15          6.     This action is one over which this Court has original jurisdiction under
16    28 U.S.C. § 1331 and may be removed to this Court pursuant to the provisions of28
17    U.S.C. sections 1441(a) and 1446(b) in that it is a civil proceeding over which the
18    district courts have original jurisdiction as a claim arising under the laws of the
19    United States, the FDCPA, 15 U.S.C. §§ 1692 et seq.
20          WHEREFORE, Defendant hereby notifies Plaintiff Renata King by and
21    through her attorneys that the above-entitled action, formerly pending in the Los
22    Angeles County Superior Court has been removed from that court to this Court.
23    Defendant prays that this Court will make any and all orders necessary to effect the
24    removal of this cause from the Court of the State of California for the County of Los
25    III
26
27
28                                              2
                   DEFENDANT'S NOTICE OF REMOVAL OF CIVIL ACTION PURSUANT TO
                                28 U.S.C. SECTIONS 1331, 144 1 AND 1446
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Case 2:15-cv-04043-CAS-PJW Document 1 Filed 05/29/15 Page 3 of 22 Page ID #:3




 1   Angeles and to effect and prepare in this Court the true record of all proceedings
 2   that may have been had in the said state court proceedings.
 3
 4
 5   DATED: May 28,2015                            HINSHAW & CULBERTSON LLP
 6
                                            By: s/Aji N. Abiedu
 7                                              Aji N. Abiedu
                                                Attorneys for Defendant HARRIS &
 8                                              HARRIS, LTD.
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Case 2:15-cv-04043-CAS-PJW Document 1 Filed 05/29/15 Page 4 of 22 Page ID #:4




                   EXHIBIT A
Case 2:15-cv-04043-CAS-PJW Document 1 Filed 05/29/15 Page 5 of 22 Page ID #:5




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     Todd M. Friedman, n4 S. Beverly Dr.. 11725, Beverly Hills, CA 90212, 877·206-4741
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                     Step 4: Fill in the informalion requested on page 4 In Item Ill; complete llem IV. Sign the declaration.


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                                      Product Liability ('241)      D A7260 PfOdue;t LlabllliY (not Bl)bastos orto;dc.lcnvlronm~ntlil)                               1.. 2.,3., •. 8.
                                                                    0     A721Q MQdltal Malpfll.c!lce • Phy<Ji.oi~rns & SurgeQ~$-                                    t., 4.
                                    Medical Mlillpra~;:ti~~ (45}
                                                                    0 A7240 Other Profes~io-M1 Health CnM Malpraclic-e                                               1.,;.

                                                                    0 A7250 PromiSE!$ uabit!ty (e.g., sUp an_d tall)                                                 1....
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                                         Part'!QOa/ Il~tlry         0 A7230 lnlantiDnal Oodity lnjtnviPrapert~ O~m~ga/Wrongtul lJBath (0".!'1 ..                     1., 4.
                                        Propen,y Oama:g&                          fS$aUit, vatJdall&rn, clo.)
                                         Wrongfot De-ath            [;1   A1'l10 fnten-!fooaf Jnfilc!lon of Srntltkmal Dll$lre$~                                     1,,iJ,
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                 LAC IV 1OU (Rev. 03111)                           CIVIL CASE COVER SHEET ADDENDUM                                                               L"""l Rule 2.0
                 lJI,'JC Al)flrove<l 0$.04                                AND STATEMeNT OF LOCATION                                                                Page 1 of4



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                                                                                                                                                             Exhibit A - Page 6
Case 2:15-cv-04043-CAS-PJW Document 1 Filed 05/29/15 Page 8 of 22 Page ID #:8




  I                                                                                                           l CASE. NUMSfR
                                                                                                                                                                                 I
   SHORT TllLE
   ,              Renata King v. Harris & Harris, Ud.

                                 A                                                                    B                                                                  c
                      CMt Cas& Cover She&t                                                       Type of Action                                          Applicable Reason::,·
                            Calegory No,                                                        (Cheo~ only one)                                          See Step 3 Abo1.1e

                         8usme5-S TM (07J            0    A6029 Olher CommercJa11Sus!nes.s Tort (no! fraUd/breach of contraCt)                          1 '3
       i:t::
       &.e                Ci\1•1 Rrohts {OS)         0    A601l!l Civil RI[Jhlsi01!;Cnm1nation                                                          1, 2., 3.
       e:fi
       Q. ..
       -c                 Oe!am;;)h0r'111 J)         0    A6010 tklfilmal.ion {slander/hbel}                                                                1. 2 .. 3.
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       -.,. ..e              FraJd (161              0    A6013 Frauc (no conlrllcll                                                                        1, 2,J
        g3:
       I:!"
       !f.tn                                         c    A6017 Legal Matpractlctl                                                                      1, 2.. 3
                    Profess1onnt NegliQer;ce (25)
       .!: ~                                         c    A6050 Olher Prole55!0na.l Malpmclice (not medical or lega()                                   1.     z. 3,
       ~.£:
                             OJ~er   l35i            ll: Afi025 Other Non·f'ers.onallnJury/Properly D"'rnage lort                                       ~D
         ..e
         ~           WronQful Termmi:lliOIJ (36)     tJ AG037 Wrongfui Termination                                                                      1., 2., 3.

         ~                                           0 A6024 Other f.mploymentComplatnt Case                                                            1.. 2. 3
        }             Other l':mploymen! (l5l
                                                     0    Ae\09 Labor Commissioner Ap~ca\s                                                              10
        "'
                                                     0    A6004 Breach of        Rentallle~u~e    Comract (not unlawful dab,Jiner Qr wrongful
                                                                                                                                                        2., 5,
                                                                  6'/ICUcn)
                   Breach ol ConhcV Warranty                                                                                                            2 .. 5
                              106)                   0    A6006 CormactNVarranty Bt~ach ·Seller Plain!iff (no fraJJ"JnegHgence)
                          (Oo{ 1nsurance)
                                                     0    A6019 Neg!Jgen\ Dreac.h of Contr<'tcVWurranty (l'lO lrauci)                                   1. 2 '5
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                                                     0    A6026 Other Breacl'l of Contract/Warranty (not ftaud or negligence)

        tl
        l'!                                          0    A6002 Colh'ICIIons Case-Seller f:llalnllff                                                    2.. 5, 6.
                          CollectiOns (0.9)
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        (,)
                                                     0    A6012 Other Prom•&aory NotefCcl!ac:.tions Case                                                2., 5

                     ln=surancR Covera:g:e (l8)      Cl A6015 Insurance Coverage {not CQfllpleXJ                                                        1      z. 5. a.
                                                     0 A6009      ~ntr.actuaJ      Fraud                                                                1 '2. 3 . $.
                        Other Contract 1~7)          IJ A60JI Tortious        h111~rfereMe                                                              1. 2., 3 '5.
                                                     IJ A6027 Ottler CQntract         Dispute~not    breach/in6urance/fraudmegllgem:e)                  j      2., 3 ,8

                     Emme-111 Doma.m!lnverse
                                                     0 A7300 Eminent Oomain/Condomnation                           Numb~r    o1 parcels_ _              2.
                       Condernnat·on t1~)
        ~                                            IJ
         ~            WrongfV!.CVICIIOO (33)              A60~3   Wrongfll1 Ev1chon Ca::~e                                                              2,8
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                     Other Real Prap~rty {26)
        "'                                           0 M032       0\JietTi~le-

                                                     IJ A6060 Other Real Prop-erty {not etnlnent domaHl, lanQk:lrdltel'\atn.            fQt~clos-ure)
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                  Unl{lwful Oelainqr~Commercial
                                                     0 M021 Unhtwful          Detalner~Cornmercitf.l (MI drug:s or wrongrul evl~tJon)                   2' 8.
                                (311
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        ·;;        Unlawful Detainer-ResHJentlal     0    A6020 Un!awiul      De~rnei·Re!5iderUial     {no\ drl.!Qs: ttr wrongf\d ev1cllon)             2, 6,
       .N                      (32)

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                       UnlawJul Oelotner.
                      Post-Fore<;los1.ne t.14}
                                                     0 A6020FUnlnwful Oelalner~Post·ForecltH&ute                                                        2., 6.
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                   Un!awJul On tamer Dr\igS. (J8)    ::J A6022. Vn!awlllll)etalnar·Drug.l>                                                              2 '6.




   lACIV109(Rev 03/11)                              CIVIL CASE COVER SHEET ADDENDUM                                                                 Local Rule 2 0
   t..ASC Appmvad 0'3·04                               AND STATEMENT OF LOCATION                                                                        Page2 ol4




                                                                                                                                              Exhibit A - Page 7
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  1 SI1DRTTITLE
        .       Renata King v. Harris & Harris. Ltd.
                                                                                                                   J.   CASf NI,JM!JE.R




                                        A                                                                    a                                                        c
                          Civil Ca&e Cover Sheet                                                       Typo or Action                               Applicable Reasons •
                                 Cat~g.ory No.                                                        {Check onfy one)                                   See Step 3 Abo\le

                            Asst~t   ~orte1IW 1 n   (05)       0   AS10B Assel ForleihJro Case                                                      2 ,6,


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                         Other JI.J<hc•al Re\llew (39}         0   A6150 OU\er Writ IJ\Idictai Re-view                                              2 .•.   a.
                       Antllrwst!Trade Rsgulauon (03)          q   A600~   An!itrustl1'rP<Ie Regulation                                             1.. 2.. 8.
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                          Construction Dorec1 (10)             0   A6007 Con.S1ruc11tHl   Oeft;~.CI                                                 1..2.,3
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                                  Toxic Tort                   c   A6036 Toxic TorVEnvlronmenta!
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            D..                                                0   A6014 Insurance Coverage:/SubJogat~Dn (-cornpfe)l: ca&a Pnly)                    1 • 2., 5. 6
                          from Complex Case {41)

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      '!!                                                      0   A8180 Abstract 1)/ JUdgment                                                      2.,6.
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     u,J         '0                                            0   AS114   P~lilion/Certificaie   for Enll)' of ,;udgrnent on UnpaiD f;l>t          2. 8.
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     .. l                                                      Q   A6030   DeclaratQfy Relief Only                                                  1.. 2. 8.
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     8         (,.)         Other Cornplalnts
                        (Not Spoclfi<<l Above) (42)
     ~ u
       '5:                                                     0 Ati011 Dthar CQmmercfat Complaint C~se (noMort/oon-compltrx)                       1., .:l.     a.
                                                               D A6000 Other Cwd Complaint (r10rHortJnon-complex)                                   1" 2, 8,

                         Partnership Corporotlon
                             Govamance (21) ·                  0   A6113 Partnership i!nd' Corporate Oo11ernance Case                               2.. 6.

                                                               0   A612~   Civil Hara::;sm~nt                                                       2 .. 3., 9
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     =u       ·~             Other Petlhon s:
                                                              D A6124 Etcler!Dependenl Adu1t Abuse            C~;~se                                2., 3 '9.
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                          (Not Specified Above)               0

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                                                                   A6190 Etechon Contas1                                                            2•
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                                      (43)
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                                                               p Ae100 .Othe-r Crv!l Potilroo                                                       2., 9.




   lACIV109iR~v            03111)                             CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.0
   l,ASC Appmved 03-04                                           AND STATEMENT OF LOCATION                                                         Page 3of4




                                                                                                                                             Exhibit A - Page 8
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    Sh¢R:f ·r .·flE:
                       Renata King v. Harris & Harris, Ud.


     Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
     circumstance indicated In Item II., Step 3 on Page 1, as the proper reason far filing in the court location you selected.
     ,     ..    ---····

                                                                                                                                                     l
                                                                                      ADDRtS3
     I REASON::        Ch<1'ek tho approprh!Uo bol!IQ& for tho numbors   ~hown        1627 Carnulas Av&
       under C«ll~mn C forthoO. type of action that you h11va selected for
       this caso.

                ;:!1. cl2. liJ3 c·.:4 ::15 rJ6. D7.       cs.   0:19 :'J1o.


     ~:::,d_a_l•---··------· _t,~_:_.,_·__,L:_;z_~.:_"_'_
                                                  _..                            _J



     llem IV, Declaratron of Assignment' I declare unoerpena:ly of per:ury under the laws of the State of California that the forego:ng is true
     and correci and that the aboveMemitled matter Js properly fHed for assignment lo the Stanley Mosk                        courthouse in the
                                                                                                                                              ·"'
      Central                         Dislnct of the Superior Court of California, County of Los Angeles [Code Civ Proc., 392 et seq., a      ocal
     RJie 2 0, subds. (b) (c) and (d)].



     Dated: April4. 2015




    PLEASE HAVE THE FOLLOWING ITEM$ COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
    COMMENCE YOUR NEW COURT CASE:

            1. Original Complaint or Petition.
            2,     tf filing a Complaint, a completed Summons form lor issuance by the Clerk.
            3.     Civil Case Cover Sheet, Judicial Council form CM-01 0.

            4. Civil Case Cover Sheet Addendum and Statement of Location form, LAC IV 109, LASC Approved 03-04 (Rev.
                   03/11).

            5.     Payment in full of the filing fee, unless fees have been waived.

           6.      A signed order appointing the Guardian ad Litem. Judicial Council form CIV-0 10, if the plaintiff or petitioner is a
                   minor under 1B years of age wilf be required by Court in order to issue a summons.

            7      Addotional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
                   must be served along with the summons and complaint, or other initiating pleading in the c~se.




    LAC IV ~ 09 {Rev. 03/11)                            CIVIL CASE COVER SHEET ADDENDUM                                      local Rule 2.0
    LASC ApprQved 03-04                                    AND STATEMENT OF LOCATION                                            Page 4 of 4




                                                                                                                       Exhibit A - Page 9
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                                                                                     COPY
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             Suren N. Wces'l\Sorlyn (278521)
      2
             Adriun R. Ba£on (280332)
      3      Law Offices of Todd M. Friedman, P.C.
             324 S. Beverly Dr. #725
             Beverly Hills, CA 90212
             J>tlOuc: 877·2064741 ·
             Fax: 866-633-0228                                                                 1\PR 0 9 2Q15
             tfricdm an@ll ttorueysforconsumers.com                                 f\llarri R. 01111er, E~eou"ve OHioeriClWo
             swcerasur!ya@attorncysforctmsumcrn.com                                       ay Anab!llla Figueroa, Deputy
      7      abllton@attorney~forconsnmers.com
         H   Attorneys for Phdntiff

                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
     I()                               l"Ol~ THlt COUNTY OF LOS ANGELES
                                                 LIMITED JURJSDJCTTON
     ll

     12
                                                                 ) Case No.
                                                                 )
                                                                                               15K04218
     13                                                          )
             RENA TAKING,                                        ) (Amount not to exceed $J 0,000)
     14                                                          )
     15      Plaintiff,                                          )          l. Violation of Rosenthal Fair Debt
                                                                 )             Collection Practices Act
     16              vs.                                         )          2. Violation of Fair Debt Collection
                                                                 )             Practices Act
     17                                                          )          3. Violation of Telephone Consumer
             HARRIS & HARRIS, LTD.,
     I~                                                          )             Pwlection Act
             Defendant.                                          )
     J<)                                                         )
                                                                 )
     20

     21
             ______________________                              ))


                                                     f. INTRODUCTION
     1)              1. This is an action lor damage~ brought by an individual consumer tor Ocfe~td~nt's
     2•\
             violations of the    Ro~en1hal   Fair Debi Collection Practices Act. Cal Clv Co<ie § 1788,               e1 s11q.
     25
             (her~i!lafter   "RFDCPA") and the Fair Debt Collection Practices Act, IS U.S.C. §1692, el                   s~q.


     ~
      7 (hereinafter "FDCPA"), both of which prohibit debt collectors from ehgaging in abusive,
     2~      deceptive, and unfair practices. Ancillary to the claims above, Plaintiff further alleges claim~>




                                                           Complui11t ~ I




                                                                                                          Exhibit A - Page 10
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           lor Defendant's violationB ol' thc: Telephone Consumer Protection Act .• 47 U.S.C. §227, et s~:q.
     2
           (hercinancr "TC PA'l

                                                    II.   PAI~TIES
     ·I

                   2.       PlaintW~   Renata King (''Piaintil'J''), is a natural person residing in Los Angeks

           Coull!)' in the state of California, and is a "consumer" us dcfint)d by the FDCPA, 15 U.S.C,

     7     s1692a(3) and is a "debtor" as dc!lncd by Cui Civ Code§ 1788.2(h).
                   3.       At all relevant times herein, Dcfcm<.l;mt, Harris & Harris. Ltd. ("Defendant")
     'I
           was a company engaged, by use of the mails and telephone. in the business of collecting a debt

    II
           from Pia inti ff which quali flcs as a "debt," as deJin..:d by 15 U.S.C. ~ l692a(S), and a ''consumer

    12     debt,'' as defined by Cal Civ Code §!788.2(f). Defendant regularly attempts to collect debts
    I!     alleged to be due another, und therelore is a "dcbt ~ollcctor" us defined by the FDCP i\, 15
    !4
           U.S.C. ;\1692a(6). and RFDC'PA, Cal Civ Code ~1788.:1(c). Further, Defendant uses an
    15
           "automatic telephone dialing system'' as dct!ncd        byth~    TCPA, 47 U.S.C. §227.
    I i>

    17                                      lH. FACTIJAL ALLEGATIONS

    I~              4.      At various and multiple times prior to the filing of the instanr complaint.
    I 'I
           including within the one year preceding the l1ling of this complaint. Defendant contacted
    :w
           Plaintiff in an attempt to collect an alleged outstunding dchL
    21

                   5.       On or about   Sept~mber   of2014. Dc!'endant mnnerou$ly calling Plaintirt'
    22
    1'
    -·'    regarding 1111 alleged outstanding debt on Plaintiff's cellulur telephone number ending in -3978.
    24     The calls from Defendant were so numerous, frequent nnd repetitive thutl'lnintlfffelt harassed
    25
           by said calls. The number, pattern and lrequency ol' calls t<J Plaintiff also evidences Defcndmlt

           to harass Pluinti IT.
    27




                                                           Ctltnpluint- 2




                                                                                                Exhibit A - Page 11
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                 6.         Additionally, Defendant has failed to sent or otherwise produce to Plaintiff the

          required notices pursuant to l5li.S.C. Section l692g.
     J
                 7.         On January 26. 2015, Plaintiffs counsel sent a written notice of representation.

          Defendant has failed to respond at this time.

     6            8.        Defendant used an "automatic telephone dialing system", as defined by 47

     7    US. C. § 227(a)rl), to place its repeated collection calls to Plaintiff seeking to collect the debt

          allegedly owed.
     9
                 9.         Defendant's calls constituted calls that were not for emergency purposes as
    J{)
          delined by .f7 U.S. C.§ 227(h)(/)(A).
                  I0.       Ocfendanrs calls were placed to telephone number assigned to a cellular
    11
          telephone service for which Plaintiff incur a charge tor incoming calls pursuant to 47 U.S. C.
    11
          §227th)(l),
    14
                  l I.      Ouring all relev.ant times, Defendant did not have Plaintiffs prior consent to be
    ll
          contacted via an "automated tClephone dialing system".
    16
                  12.       Defendant's conduct violated the FDCPA and the RFDCI'A in multiple ways,
    17

    IK    including but not limited to:

    19
                         a) Causing a telephone to ring repeatedly or continuously to annoy
    211                     Plaintiff(Cul Civ Code§ 178S.Il(d));
    21
                         b) Communicating, by telephoiw or in person, with Plaintiff with
    22                      such frequency as to be unreasonable and to constitute an
                            harassment to Plaintiff under the circumstances (Cal Civ Code §
    23
                            1788.1 I (e));

                         c) Causing PlaintiJJs telephone to ring repeatedly or continuously
    Jj                      with intent to harass. annoy or abuse Plaintiff(§ 1692d(5)):

                         d) Communicating with PlaintiiT at times or places which were
    27                      known or should have been known to be inconvenient for
                            Plaintiff(§ 1692c(a)( 1));




                                                                                            Exhibit A - Page 12
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                        c) Failing to provide Plaintiff with the notkes required by 15 USC§
                           t692g, either in the initial communication with l'lainti ft~ or in
     2
                           writing within 5 days thereof 1692g(a)); and
     3
                        f)   Engaging in conduct the natural consequence of which is to
                             harass, oppress, or abuse Plaintiff(§ 1692d)),


     6            13.        Defendant's conduct violated the TCPA by:

                        a) using any automatic telephone dialing system or an artificial or pre·
                           recorded voice to any telephone number assigned to a paging service,
                           cellular telephone service, specialized mobile radio service. or other
                           radin common canier service, or any service for which the called party is
    10
                           charged for the call (47 USC §227(b)(A)(iii)).

    II
                  14.        As a result of the above violations of the FDCPA, RFDCPA, and TCPA,
    12

    ll    Plaintiff suffered and continues to sttffer injury to P!aintin's feelings, personal humiliation,

    I<    embaJTassment, mental anguish and emotional distress. Plaintiff has even had to resort to
    Il
          taking sleeping pills because of the telephone calls.            Deiendant is liable to Plaintiff for
    lh
          Plaintiff's actual damages, stawtory damages, and costs and attorney's       lees.
    17
                                        COUNT 1: VIOLATION OF ROSENTHAL
    IS
                                      FAIR DEllT COLLECTION PRACTICES ACT
    I~
                  15.        Plaintiff reincorporates by reference all of the preceding paragraphs.
    lll
                  16.        To the   ext~nt   that Defendant's actions, counted above. violated the RFDCPA,
    21

          those acti(ms were done kno.wing!y and willfully.
    2J                                              PRAYER FOR RELIEF
    .)4
                 WHEREFORE, Plainti!T respectfully prays that judgment be cnten;d against Defendant

          for the following:

    27                       A.       Actual damages;

    28                       B.       Statutory damages for willful and negligent violations;
                             C.       Costs and reasonable a1torney's fees,




                                                                                                Exhibit A - Page 13
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                             D.     For such other and furtherrelief as may be just and proper.

                                       COU!'IT II: VIOLATION OF FAIR DEBT
                                         COLLRCTION PRACTICES ACT

                     17.     Plaintiff reincorporates by reference all of the preceding paragraphs.

                                                  PRA YI'.R FOR RELIEF

                     WHEREFORE. Plaintiff respectfully prays that judgment be entered against Defendant

     8     for the lollowing:

                             A.     Actual damages;
    I (J                     B.     Statutory damages;
    II                       c.     Co~ts   and reasonable attorney's fees; and,
    12                       D.     For ·Such other and furthcrrelicf as may be just and proper.
    IJ

    14
                                     COUNT III: VIOLATION OF TELEPHONE CONSUMER
                                               PROTECTION ACT
    15
                      18.    Plaintiff incorporates by reference all of the preceding paragraphs.
    16
                     19.     The lorcgoing acts and omissions of Defendant constitute numerous and
    17
           multiple neg Iigent violations of the TCPA, including but not limited to each and every one of
    IM
           the above cited provisions of .J7 U.S. C. ,11' 227 etseq.
    19
                     20.     As a result of Defendant's negligent violations of .J7 U.S.C § 227 (!/ seq.,
           Plaintiff is entitled an award of $500.00 in statutory damages, tor each and every violation,
    21
           pursuant to -17 U.S. C.§ 227(h)(3)(B).
    22
                     21.     lhe foregoing acts and omissions of Defendant constitute numerous and
           multiple knowing and/or willful violations of the TCPA, including but not limited to each and
           every one of the abo1•e cited provisions of 47 U.S. C.§ 227 er ,\'ef{.
                     22.     As a rcSlllt of Defendant's knowing and/or williu! violations of -/7 U.S. C.§ 227
    26
           <if   seq., Plaintiff is entitled an award of $1.500.00 in statutory damages, for each and every
    27
           violation, pursuant to ./7 US. C.§ 227(b}(J)(B! and ./7 [/.S.C.§ 227(b)(3)(C).
    2R
                     23.    Plaintiff is entitled ro and seek injunctive relief prohibiting sue!] conduct in the



                                                          l'ompl<tmt- :>




                                                                                              Exhibit A - Page 14
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           ful\lre.
                                                  PRAYER FOR RELIEF

                      WHEREFORE, Plaintiff respectfully prays that Judgment be entered against the
      ·I
           Defendant for the following:

                         A. As a result of Defendant's negligent violations of .f7 U.S. C. §227(b){l ),
      6
                              Plaintiff is entitled to and requests $500 in statutory damages, for each
      7                       and every violution, pursuant to -17 US. C. 227(b)(JJ(BJ;

                         13. As a result of Defendant's willful and lor knowing violations of 47 U.S. C.
                             ,S227(b}( I), Plain lilT is entitled to and requests treble damages, as
      9
                             provided by :;tatute, up to $1.500, for cad1 and every violation, pursuant
    Ill                      to-/".' USC §227(b)(3){BJ and 47 U.S. C. §227(b)(J)(<.); and

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                         c.   Any and all other relief that the Court deems just and proper.
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                                PLAINTIFF HEREBY R

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    1$
                              Respectfully submitted this 4'h duy of April, 1   5.

                                                     By:
    16
                                                            Todd M. Friedman, Esq.
    17                                                      Law Office~ of Todd M. Friedman, P.C,
                                                            Attorney for Plaintiff
    1.~


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                      ORDIR. <c..te ctr, rr.c., ISH. ..w. (b).)
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           19                2.        '1l1l Court llllllbe iiUowiDa trilldlleln fliJ caM In Dei*IUIOut 17 .. the
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                                                                                                           Exhibit A - Page 16
Case 2:15-cv-04043-CAS-PJW Document 1 Filed 05/29/15 Page 18 of 22 Page ID #:18




             trial date will be_continued to a later dale If service ia not accomplished within six (6)

    2        months. The parties may stipulate to keep the origlaal trial date even If service of the

    l        lllmDlOIII and complaint is not completed within six (6) months of the             fiUng of the orip
    •complaint.

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Case 2:15-cv-04043-CAS-PJW Document 1 Filed 05/29/15 Page 19 of 22 Page ID #:19




                                                  EX PARD APPLICATIONS .
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 l                   3.            Bx parte app6catlons should be uoti~ fur 1:30 p.m. in ~~ 77. All
 ] applitatioiUI muat be filed by 1:00 pJn. in Room un or tho Stanley Mosk Counhousc.
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                      9.           Theieo sball be due 110 latettbln36S calaldardayaaftertbc filingoftbc
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               illltii11 complaint. (CodcCiv. Proc.,§63l,subds. (b)md(e).)

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                S95.2111d0ovt. Code f '10Gt7,avlld. (c:X2).)
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                                     Local R.ulea ottbc Loa AaeeJ• Supai« Court LA8C). a local ndc lJ1;


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                            iv.      Said Bxbibillla exhibit boob, ll1lllbPI ~y, a Bxllibit fbi;




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    Case 2:15-cv-04043-CAS-PJW Document 1 Filed 05/29/15 Page 20 of 22 Page ID #:20




                     v.    lolnt Propo~ .Jury lnattul:tions printed out for tile IXliiXl; and
z                    vi.   Joint Proposed Verdict form(s) printed out fur lhe CO\IIt

J                   12.    FAILURE TO COMPLY WlTil ANY REQUIREM&NT Sl:l' FORni
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             IN PARAGRAPH 11 ABOVE MAYIISULTINSANCOONS 01\ 1'111 VACATING
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  1                             CERTIFICATE OF SERVICE
  2                         Renata King v. Harris & Harris, LTD.
  3                              Case No. - - - - - - -
  4              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
  5          I am a citizen of the United States and employed in Los Angeles, California,
      at the office of a member of the bar of this Court at whose direction this service was
  6   made. I am over the age of 18 and not a party to the within actions; my business
      address is 11601 Wilshire Blvd., Los Angeles, California 90025.
  7
            On May 29, 2015, I served the document(s) entitle~~T DEFENDANT'S
  8   NOTICE OF REMOVAL OF CIVILE ACTION PURSUru"'T TO 28 U.S.C.
      SECTIONS 1331, 1441 AND 1446fSUBJECT MATTER JURISDICTION]; on
  9   the interested parties in this action by placing trust copies thereof enclosed m a
      sealed envelope(s) addressed as stated below:
 10
                              SEE ATTACHED SERVICE LIST
 11
      ~ (BY MAIL) : I deposited such envelope in the mail at Los Angeles, California
 12   w1tn postage fully prepaid. I am readily familiar with this firm's practice of
      collection and processing correspondence for mailing. Under that practice it would
 13   be placed for collection and mailing, and deposited with the U.S. Postal Service on
      that same day with postage thereon fully prepaid at Los Angeles, California, in the
 14   ordinary course of ousiness. I am aware that on motion of party served, service is
      presumed invalid if postal cancellation date or postage meter date is more than 1 day
 15   after date of deposit for mailing in affidavit.
 16   D (VIA OVERNIGHT MAIL) :                 I am "readily familiar" with the frrm's
      practice of collection and processing correspondence for overnight delivery. Under
 17   that practice it would be deposited in a box or other facility regUlarly maintained by
      the express service cruTier, or delivered to an authorized courier or driver authorized
 18   by the express service carrier to receive documents, in an envelope or _package
      designated by the express service carrier with delivery fees paid or proviaed for,
 19   addressed to the person on whom it is to be served, at the office address as last given
      by that person on any document filed in the cause and served on the pruiy making
 20   service; otherwise at that party's place of residence.
 21   n   (BY ELECTRONIC MAIL):               By transmitting a true copy thereof to the
      e-lectronic mail addresses as indicated below.
 22
 23
      D (BY FACSIMILE):       By transmitting an accurate copy via facsimile to the
      person and telephone number as stated.
 24   lXI (BY CMIECF SERVICE): I caused such document(s)                 to   be   delivered
      electronically via CM/ECF as noted herein.
 25
            I declare under penalty of perjury under the laws of the United States that the
 26   above is true and correct and was executed on May 29, 2015, at Los Angeles,
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 27   California.                                 ~                        ?..t
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                                      CERTIFICATE OF SERVICE
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  1                                 SERVICE LIST
  2                       Renata King v. Harris & Harris, LTD.
  3                           Case No. - - - - - - -
  4
      Todd Friedman (SBN 216752)                      Attorneys for Plaintiff RENATA
  5   Suren N. Weerasuriya (SBN 278521)               KING
      Adrian R. Bacon (SBN 280332)
  6   LAW OFFICES OF TODD M. FRIEDMAN
      324 S. Beverly Drive, Suite 725
  7   Beverly Hills, CA 90212
      Phone: (877) 206-4741
  8   Facsimile: (866) 633-0228
      Emails:
  9   tfried111an@attorneysforconsumers. com;
      sweerasun ya@attomeysforconsumers. com;
 10   abacon@attomeysforconsumers.com
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